Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 1 of 21 PageID #: 1
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 2 of 21 PageID #: 2
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 3 of 21 PageID #: 3
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 4 of 21 PageID #: 4
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 5 of 21 PageID #: 5
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 6 of 21 PageID #: 6
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 7 of 21 PageID #: 7
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 8 of 21 PageID #: 8
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 9 of 21 PageID #: 9
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 10 of 21 PageID #: 10
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 11 of 21 PageID #: 11
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 12 of 21 PageID #: 12
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 13 of 21 PageID #: 13
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 14 of 21 PageID #: 14
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 15 of 21 PageID #: 15
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 16 of 21 PageID #: 16
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 17 of 21 PageID #: 17
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 18 of 21 PageID #: 18
Case: 1:15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 19 of 21 PageID #: 19
15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 20 of 21 Page
15-cv-00044-GHD Doc #: 1 Filed: 03/06/15 21 of 21 Pag
